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ATTACHMENT A
STATEMENT OF FACTS

The following Statement of Facts is incorporated by reference as part of the Plea
Agreement (“Agreement”) between the United States Department of Justice, Criminal Division,
Fraud Section (the “Fraud Section”) and Balfour Beatty Communities, LLC (“BBC”). BBC hereby
agrees and stipulates that the following information is true and accurate. BBC admits, accepts, and
acknowledges that under U.S. law it is responsible for the acts of its employees and agents as set
forth in this Statement of Facts, which acts BBC acknowledges were within the scope of the
employees’ and agents’ employment and, at least in part, for the benefit of BBC. This Statement
of Facts does not contain all the facts known to the Fraud Section or BBC; the Fraud Section’s
investigation into individuals is ongoing. Had this matter proceeded to trial, BBC acknowledges
that the Fraud Section would have proven beyond a reasonable doubt, by admissible evidence, the
facts alleged below and set forth in the criminal Information attached to this Agreement:

Relevant Entities and Individuals

1. BBC was a diversified real estate services company headquartered in Malvern,
Pennsylvania.
2. Rick Cunefare (“Cunefare”) was a citizen of the United States whose primary

residence was in Phoenix, Arizona. From in or around 2013 through in or around 2015, Cunefare
was employed by BBC as a Regional Property Manager, which was a regional-level supervisory
role within BBC. He oversaw the military housing communities that BBC operated at Lackland
Air Force Base (“AFB”), Travis AFB, Vandenberg AFB, Tinker AFB, and Fairchild AFB, which

were Department of Defense installations.

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3. Stacy Cabrera (“Cabrera”) was a citizen of the United States whose primary
residence was in Converse, Texas. From in or around 2013, to in or around 2016, Cabrera was
employed as a Community Manager at Lackland AFB.

Background on Privatized Military Housing

4. The Military Housing Privatization Initiative (“MHPI”) was a statutorily
established program designed to attract private sector financing, expertise, and innovation to
provide necessary housing for military servicemembers, their families, and other dependents faster
and more efficiently than traditional military construction processes would allow. Put into effect
via the National Defense Authorization Act for Fiscal Year 1996, Public Law 104-106 (110 Stat.
186, Section 2801), a goal of the MHPI was to provide military families access to safe, quality,
affordable, well-maintained housing in a community where they would choose to live, while also
allowing them the convenience of being near military bases and other institutions consistent with
their duties.

5. Branches of the U.S. Armed Forces, including the Air Force, Army, and Navy,
which are components of the U.S. Department of Defense (“DOD”), and agencies of the United
States, have used authority granted to them under the MHPI to enter into agreements with private
real estate developers to develop, maintain, and operate housing for U.S. military members at
military bases around the United States.

6. Basic Allowance for Housing (“BAH”) was an allowance provided to
servicemembers stationed in the United States that is intended to cover housing costs in local
civilian housing markets when government housing is not available. Under the MHPI,

servicemembers generally used their BAH to pay rent and other fees to the private developers that
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operate housing communities in which servicemembers elected to live.

BBC’s Development and Management of Privatized Military Housing Communities

7. Beginning in approximately 2003, a BBC predecessor entity entered into
agreements with branches of the U.S. Armed Forces to own, develop and manage military housing
communities at military installations across the country. These agreements were generally valued
at more than $1,000,000. BBC received payments under these agreements.

8. Ultimately, BBC became one of the U.S. military’s largest providers of privatized
military housing, operating military housing communities at approximately 21 Air Force bases, 16
Army bases, and 18 Navy bases, in which tens of thousands of servicemembers and their families
lived.

9. BBC was obligated, at all times, to be truthful in its representations to the service
branches and DOD, and to endeavor to provide safe and habitable housing for military
servicemembers and their families.

10. Part of the compensation that BBC received in connection with these military
housing communities came in the form of fees that BBC was paid for the various phases of
development and management of each housing community, from design and construction to
ongoing community management and maintenance.

11. BBC’s fees for the ongoing property management and maintenance of its military
housing communities generally consisted of (1) a base fee, paid to BBC monthly, and (2)
performance incentive fees (the “Performance Incentive Fees”), paid to BBC quarterly or semi-
annually.

12. Performance Incentive Fees were only payable upon the approval of the relevant

service branch. To obtain the service branches’ approval, BBC was required to satisfy certain

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performance objectives that were set out in the agreements that governed the military housing
projects (the “Performance Objectives”). For example, the Fee Management Plan for the AMC
West Air Force housing project, which consisted of military housing communities at three Air
Force bases, included approximately eight Performance Objectives that, if met, entitled BBC to
100% of the quarterly Performance Incentive Fees for the AMC West project.

13. | While the details of how BBC satisfied the Performance Objectives varied from
housing project to housing project, objectives themselves generally fell into four categories: (1)
maintenance requests (e.g., to earn the Performance Incentive Fees, BBC had to respond to and/or
complete maintenance requests within certain agreed time frames); (2) resident satisfaction (often
measured by comment cards); (3) the timely completion of tasks, such as supplying documents
and reports; and (4) a local commander’s evaluation of BBC’s performance.

14. To track and manage maintenance requests at the housing projects that it managed,
BBC used a property management software called Yardi. Generally, when residents encountered
a maintenance issue in their housing units, which could include anything as minor as a ripped
screen or more serious such as a major water leak, they would report the issue to an on-site
management office staffed by BBC employees. Generally, a BBC Work Order Administrator
would enter information about the issue into Yardi, which generated a work order that could be
used to track the maintenance issue. The Work Order Administrator used Yardi to schedule the
issue for repair, to be carried out by BBC Maintenance Technicians and contractors; track progress
of the repair; and document its completion. When the work was completed, the Work Order
Administrator would “close out” the work order.

15. | BBC also used Yardi to track its satisfaction of the maintenance work order-related

Performance Objectives and then generated Quarterly Maintenance Reports from that data.
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16. BBC collected resident satisfaction data by distributing comment cards to residents,
often in connection with maintenance at residents’ homes. BBC employees then collected the
cards. This data was significant, because it helped ensure that servicemembers and their families
lived in clean, comfortable, and safe housing while engaged in their duties on behalf of the military.

17. To obtain Performance Incentive Fees, BBC was required to submit to the service
branches documentation and a statement that it had satisfied the Performance Objectives, including
the objectives related to maintenance and customer satisfaction described above. These
submissions were material to the decision-making of the service branches, which relied on BBC’s
submissions in deciding whether to approve the payment of relevant Performance Incentive Fees.

18. | BBC’s submissions generally consisted of a report prepared using data from Yardi
and other sources (e.g., comment card metrics) and a written letter, that BBC employees submitted
to the service branches quarterly or semi-annually. Figure 1, below, is an example of an excerpt
from a Performance Incentive Fee request letter that was submitted to the Air Force for the AMC

West housing project for the fourth quarter of 2014.

RE: AMC West Q4 2074 Incentive Management Fee Request
Attached is our AMC West 04 2074 incentive fee submittal with supporting documents.
Summary of Incentive Fees are as follows:

Community and Maintenance Management Incentive Fee
Recommended for Approval: $358,624.00

Performance for the Deve ent Incentive Fee
Recommended for Approval: $15,089.99

Performance for the Renovation Incentive Fee
Recommended for Approval: $10,204.00

 

Total Request: $383,917.99

Figure 1

19. All three service branches to which BBC submitted requests for Performance

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Incentive Fees were limited in their ability to independently verify the accuracy of BBC’s data,
and thus these service branches relied on the accuracy of the data that BBC submitted in evaluating
whether BBC had met the Performance Objectives.

20. Upon the service branches’ approval of BBC’s Performance Incentive Fee request
letters and data, BBC would generally be authorized to receive distributions from an account in
which Performance Incentive Fee funds were set aside.

Overview of BBC’s Scheme to Defraud the U.S. Military

21. From in or around 2013 to in or around 2019, in many quarters in which BBC did
not legitimately meet certain Performance Objectives, primarily those related to maintenance and
customer satisfaction, at various military housing projects, BBC employees, including Cunefare,
Cabrera, and others, falsified information so that BBC’s Performance Incentive Fee requests
falsely reflected that BBC had met those objectives. Specifically, BBC employees altered or
manipulated data in Yardi and destroyed or falsified resident comment cards to falsely inflate these
metrics and, ultimately, to fraudulently induce the service branches to pay Performance Incentive
Fees which BBC had not earned and to which BBC was not entitled.

22. These false submissions were material, in that they influenced and were capable of
influencing the decisions of the service branches.

23. In devising and executing this scheme to defraud, Cunefare, Cabrera, and others
acted in the scope of their agency and employment at BBC and acted at least in part to benefit

BBC.

The Effects of BBC’s Scheme on Servicemembers and Their Families
24. BBC employees, acting to benefit BBC, made false representations to all three

service branches that maintenance issues raised by residents were being addressed in a timely

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manner, when in fact many were not.

25. For example, on multiple occasions, BBC opened work orders in response to
resident complaints about acute (e.g., leaks) and long-term (e.g., warped floors) maintenance
issues, and then closed the work orders prior to completing the required work. On such occasions,
BBC falsely represented to the service branches that the work had been completed in a sufficiently
timely manner to qualify for Performance Incentive Fees.

26. | BBC’s closing of work orders before the work was completed resulted in some
instances in unnecessary delays in the resolution of maintenance issues to the detriment of
residents.

27.  Asaresult of BBC’s false representations, the service branches had an inaccurate
view of the state of BBC’s military housing projects. As a result, the service branches’ ability to
timely assess and correct BBC’s true performance was negatively impacted.

Specific Actions by BBC Employees to
Supply the Air Force with False Information

28. The following specific actions by BBC employees had the effect of supplying false
information to the Air Force, were in furtherance of the scheme to defraud, and were carried out
by employees and agents of BBC acting within the scope of their employment or agency, and for
the benefit of BBC.

Actions by Cunefare

29.  Cunefare gave instructions to Cabrera and others, who were agents and employees
of BBC, to manipulate and falsify work order data in Yardi in multiple quarters so that BBC’s
requests for Performance Incentive Fees would reflect that BBC had met Performance Objectives,
when in truth and in fact, it had not. This allowed BBC to obtain Performance Incentive Fees to

which it was not entitled, and to reap the pecuniary benefits of the scheme.

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30. Specifically, Cunefare directly supervised military housing community managers,
including Cabrera, who were responsible for overseeing the day-to-day management of several of
BBC’s military housing communities.

31. In addition to other oversight duties, Cunefare was responsible for reviewing and
approving Quarterly Maintenance Reports prepared by the community managers and their
subordinates and ensuring that the numbers in the Quarterly Maintenance Reports were submitted
to the Air Force with the Performance Incentive Fee request letters.

32. | Cunefare knew that the Quarterly Maintenance Reports he approved were used to
report maintenance-related Performance Objectives to the Air Force, and to obtain the Air Force’s
authorization for the Performance Incentive Fee each quarter. Cunefare further understood that
meeting Performance Objectives and achieving Performance Incentive Fees were important goals
for BBC, because meeting these goals would allow BBC to obtain more money from the Air Force.

33. In quarters in which BBC did not legitimately meet the maintenance-related
Performance Objectives, Cunefare gave instructions to community managers and others that
resulted in the community managers and others manipulating and falsifying information in Yardi
so that the Quarterly Maintenance Report would falsely reflect that BBC had met the objectives.
These actions had the effect of falsely inflating BBC’s Performance Objectives.

34. ‘As a result of Cunefare’s actions, BBC employees manipulated and falsified
information in Yardi in quarters to ensure that they met their Performance Objectives, and BBC
obtained the Performance Incentive Fee.

35. By directing information to be manipulated in Yardi, Cunefare and other BBC
employees knowingly and intentionally caused false information regarding the Performance

Objectives to be supplied to the Air Force on a quarterly basis, deceiving the Air Force into

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believing that BBC was meeting the Performance Objectives required to obtain Performance

Incentive Fees, and enriching BBC at the expense of the Air Force, when in fact BBC was unable

to keep up with maintenance issues at many of the military housing communities that it managed.
Actions by Cabrera

36. As the Community Manager for Lackland AFB, Cabrera was the senior on-site
BBC employee responsible for overseeing the day-to-day management of the privatized military
housing community there. Approximately 20 BBC staff members reported to Cabrera.

37. Cabrera knew that her Quarterly Maintenance Report was used to report the
Performance Objectives to the Air Force, and to obtain the Air Force’s authorization for the
Performance Incentive Fee for Lackland AFB each quarter.

38. | Cabrera worked with Cunefare and others to manipulate and falsify information in
Yardi in multiple quarters so that Quarterly Maintenance Reports would falsely reflect that BBC
had met Performance Objectives, when in truth and in fact, as Cabrera and other BBC employees
well knew, it had not. This allowed BBC, acting through these employees, to submit materially
false and fraudulent requests to the Air Force for payment of Performance Incentive Fees to which
it was not entitled.

39. Specifically, in quarters in which BBC did not meet the Performance Objectives,
Cabrera manipulated and falsified information in Yardi so that the Quarterly Maintenance Report
for Lackland AFB would falsely reflect that BBC had met the objectives.

40. Cabrera admitted that she knowingly and intentionally directed her subordinates to
manipulate information in Yardi by, among other things, adjusting completion times for work

orders, “closing” work orders early, or marking work orders “complete” prior to maintenance work

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actually being performed. These actions had the effect of falsely inflating BBC’s Performance
Objectives at Lackland AFB.

41. | On various occasions, Cabrera personally manipulated and falsified information in
Yardi to create false Quarterly Maintenance Reports which were submitted to the Air Force.

42. By manipulating information in Yardi, and directing information to be manipulated,
Cabrera and other BBC employees knowingly and intentionally caused false information regarding
the Performance Objectives to be supplied to the Air Force on a quarterly basis, deceiving the Air
Force into believing that BBC had met the Performance Objectives necessary to receive
Performance Incentive Fees related to work order performance.

BBC’s Inadequate Controls Contributed to the Misconduct

43. In addition to the specific criminal actions admitted to above, widespread failures
at the regional and BBC corporate and executive levels contributed to its provision of false
information to the service branches.

44. Specifically, a regional vice president pressured subordinates to meet metrics
without regard to accuracy and to ensure that Quarterly Maintenance Report metrics were above
thresholds necessary to obtain Performance Incentive Fees.

45. In addition, a regional vice president, and at least two regional property managers
(in addition to Cunefare) issued directives to subordinates to meet Performance Objectives and
benchmarks in terms that subordinates reasonably interpreted as encouraging improper behavior.

46. In addition to actively promoting the falsification of data, regional personnel were
aware of data discrepancy and data falsification allegations and failed to take corrective action.

47. _ BBC corporate-level employees, including at least one senior vice president,

prioritized the payment of Performance Incentive Fees over addressing concerns about the

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accuracy of Yardi data.

48. Individuals at the executive level, including BBC’s former Chief Operating Officer,
contributed to pressure to qualify for and collect Performance Incentive Fees, and were aware of
warning signs of Performance Incentive Fee-related misconduct, including concerns raised by the
service branches, but failed to take immediate action to investigate the allegations and correct any
misconduct. In at least one instance, an executive vice president downplayed Air Force concerns,
including about Yardi data accuracy and the falsification of comment cards.

49. These actions and failures to act had the effect of permitting lower-level BBC
employees to execute the scheme to defraud, but also allowing it to continue despite warning signs
as early as 2016.

50. BBC, acting through its employees and agents, acted knowingly and with the intent

to defraud the service branches in connection with military housing contracts.

Quantification of Losses to the Service Branches
51. From in or around 2013 to in or around 2020, the Air Force, Army, and Navy

collectively sustained a loss of approximately $18,700,000 as a result of BBC’s scheme to defraud.
BBC accepts that this figure is the proper measure of loss for the purposes of calculating the

appropriate fine under the U.S. Sentencing Guidelines.

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